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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 AUSTIN PLUMMER,

 Plaintiff,

 v.                                                  19-453-KBJ

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, et al.,

 Defendants.


  THE DISTRICT OF COLUMBIA’S REPLY BRIEF IN SUPPORT OF ITS PENDING
              MOTION TO ENTER A PROTECTIVE ORDER [10]

           Defendant District of Columbia (the District), by and through undersigned counsel, and

pursuant to Fed. R. Civ. P. 26(c), hereby replies in support of its pending Motion for entry of a

Protective Order [10] and in response to Plaintiff’s opposition papers [14].

      a.       Plaintiff’s Rationale for Opposing the District’s Protective Order is
               Unpersuasive.

           The District’s Motion for a Protective Order [10] was filed for good cause under Fed. R.

Civ. P. 26(c). The District’s supporting brief [10-1] noted that a main purpose of its proposed

Protective Order was to allow it to disclose DOC records that, it avers, demonstrate that Plaintiff

Austin Plummer was not overdetained by DOC:

                  The confidential DOC documents, the District contends, showed
                  that Plaintiff was released in a timely manner. To use these
                  confidential DOC documents in support of its Motion for Summary
                  Judgment, the District requires a Protective Order. This will allow
                  the District to provide Plaintiff’s counsel with a copy of the Motion
                  for Summary Judgment with its attached exhibits marked
                  “Confidential.”

Id. at 2-3.
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       A Protective Order is necessary to disclose DOC documents about Plaintiff Austin

Plummer’s incarceration and release. Both Plaintiff’s counsel and Plaintiff can examine

these documents if they are marked “Confidential,” as the District’s Motion states they will.

Plummer’s interests will not be negatively affected by the entry of the District’s proposed

Protective Order and Plummer has no personal need to see DOC personnel files or documents

pertaining to sensitive DOC operations that might require designation as “Confidential:

Attorneys’ Eyes Only.” If Plummer did have a need, the District’s proposed Protective Order

[10-2] allows him to challenge the designation.

       Yet Plaintiff’s counsel wants to use DOC’s documents to aid other lawsuits. Pl. Oppo.

Br., page 2 [14]. Plaintiff’s brief argues, “Mr. Plummer wants to be able share the discovery

he obtains in this case with other overdetention cases he has pending in this Court.” Id. Yet

the lawsuits referred to do not feature Austin Plummer. The lawsuits mentioned in Plaintiff’s

brief were filed by Richard Jones (16-02405) and Carlton Harris (18-02390). Upon

information and belief, Austin Plummer has no other “overdetention cases” pending in this

Court. Plaintiff’s counsel’s desire to use DOC records produced during this lawsuit in

Plaintiff’s counsel’s other lawsuits is not a compelling argument for refusing the entry of the

District’s Protective Order. The District’s proposal allows Plaintiff’s counsel to challenge

any “Confidential Designation” and he can ultimately have the Court decide whether the

designation is appropriate.

       b.      The District’s Proposed Protective Order protects the Interests of All
               Parties.

       Plaintiff’s counsel’s desire to prevent the District from having the power to mark

documents “Confidential” and “Confidential: Attorneys’ Eyes Only” is totally unnecessary to

protect Plaintiff’s interests. If Plaintiff’s counsel believes that a document has been



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improperly marked as containing “Confidential Information,” Plaintiff has numerous

remedies available. The District’s proposed Protective Order [10-2] contains a provision that

requires the parties to resolve disputes about documents containing “Confidential

Information” in them “in good faith on an informal basis.” Id. at 2-3. Further, Plaintiff’s

counsel can “at any request that the producing party cancel the CONFIDENTIAL

INFORMATION designation with respect to any document, object, or information.” Id. at 3.

If this request is denied, Plaintiff’s counsel can file a motion. Id. at 3.

       Plaintiff’s proposed Protective Order [15-1], by contrast, would allow the parties to

challenge a confidentiality designation “by filing a short objection regarding the designation

and arranging for a prompt telephonic discovery status conference with the Court.” Pl.

Proposed Protective Order, pages 5-6 [15-1]. Plaintiff’s counsel’s proposed Protective Order

would therefore result in potentially needless contact with the Court over issues that could be

resolved “in good faith on an informal basis” between the parties. Plaintiff’s proposal does

not further the goal of judicial economy.

       Plaintiff’s claim that the District’s proposed Protective Order [10-2] is a “blanket”

order is entirely inaccurate. The District’s proposed Protective Order requires the parties to

attempt to accommodate each other “in good faith.” This “good faith” requirement

demonstrates that the District does not seek a “blanket” Protective Order because a

“Confidential Information” designation can only be maintained on a good-faith basis.

Further, Plaintiff’s counsel will receive DOC’s “Confidential” and “Confidential: Attorney’s

Eyes Only” documents (subject to any redactions) and can decide for himself whether he

thinks the documents have been properly designated. Plaintiff’s counsel is then afforded

avenues to challenge the designation, as explained above.




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        But the District must be given the means of protecting sensitive DOC documents from

disclosure. Under Plaintiff’s proposed Protective Order [15-1], this is not possible. It

contains the chilling language that:

               Either producing party may designate Confidential Information as
               Attorney’s Eyes Only if it meets the definition of Confidential
               Information under this Protective Order and it requires special
               protection.

Id. at page 2 [15-2].

This provision is onerous to the Defendant and has no utility to Austin Plummer.

       Plaintiff’s counsel is attempting to define what constitutes DOC “Confidential

Information.” Id. pages 2-3 (“Information Subject to this Protective Order”)[15-1]. Yet he is not

a DOC official or a DOC attorney, and therefore cannot be aware of the universe of DOC

documents that may require “confidential” designation. DOC and its lawyers cannot be

prevented from protecting their client’s interests by an ambiguous Protective Order [15-2] that

implicitly forbids a confidentiality designation of DOC documents unless the documents fall into

of the document categories created by Plaintiff’s counsel. Under Plaintiff’s proposal [15-1],

Plaintiff could claim that the District has violated a Court Order simply for marking a document

as containing “Confidential Information.” Put simply, Plaintiff’s counsel cannot be given the

power to determine what DOC records “meet the definition of Confidential Information” devised

by him. The language in Plaintiff’s proposed Protective Order [15-1] is highly burdensome on

the District and entirely unnecessary to protect Austin Plummer’s interests in this litigation.

       By contrast, the District’s proposed Protective Order [10-2] allows a party to designate its

own documents as “Confidential Information” as “Confidential” or Confidential: Attorneys’

Eyes Only.” No functioning Protective Order could work any other way. This Court, not

Plaintiff’s counsel, must ultimately decide whether a DOC document should be distributed



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beyond the scope of this litigation. Respectfully, this Court should enter the District’s proposed

Protective Order because it fully protects the interests of both parties and reduces the likelihood

of unnecessary litigation.

                                         CONCLUSION

       For all the above reasons, the District’s proposed Protective Order [10-2] should be

entered by this Court.

May 17, 2019                                  Respectfully submitted,

                                              KARL A. RACINE
                                              Attorney General for the District of Columbia

                                              CHAD COPELAND
                                              Acting Deputy Attorney General
                                              Civil Litigation Division

                                              /s/ Michael K. Addo
                                              MICHAEL K. ADDO [1008971]
                                              Chief, Civil Litigation Division Section IV

                                              /s/ Benjamin E. Bryant
                                              BENJAMIN E. BRYANT [1047632]
                                              PHILIP A. MEDLEY [1010307]
                                              Assistant Attorneys General
                                              Civil Litigation Division Section IV
                                              Suite 630 South
                                              441 4th Street, NW
                                              Washington, D.C. 20001
                                              202-724-6652
                                              202-730-0624 (fax)
                                              benjamin.bryant@dc.gov

                                              Counsel for Defendants




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